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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

In re BP p.l.c. Securities Litigation No. 4:10-md-02185

 

This document relates to:
No. 4:12-cv-1256 (cons.)

Alameda County Employees’ Retirement
No. 4:12-cv-1272

Association et al. v. BP p.l.c. et al.
Connecticut Retirement Plans & Trust No. 4:12-cv-1837

Funds et al. v. BP p.l.c. et al. Honorable Keith P. Ellison
Ohio Public Employees Retirement
System et al. v. BP p.l.c. et al.

 

 

STIPULATION AND ORDER RE:
CASE MANAGEMENT ORDER

WHEREAS, on October 15, 2013, the Court ordered pursuant to a stipulation in
the above-referenced actions (e.g., Document 67 in No. 4:12-cv-01837) that the parties shall
confer and submit a proposed case management order that, if necessary, will include the parties’
competing proposals, by November 22, 2013, and that the remaining defendants shall answer the
complaints in the above-referenced actions by November 27, 2013;

WHEREAS, the parties have been conferring about a proposed case management

order;

IT IS HEREBY STIPULATED AND AGREED by and between the undersigned
parties:

1. The parties shall submit a proposed case management order in the above-
referenced actions that, if necessary, will include the parties’ competing proposals, by

December 6, 2013.

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2. The time for the remaining defendants in the above-referenced actions

(other than David Rainey in the Alameda action, whose time to answer the complaint in that

action shall be governed by a separate stipulation) to answer the complaints in those actions is

further extended until December 11, 2013.
Dated: November 22, 2013
STIPULATED AND AGREED:

/s/ Matthew L. Tuccillo

Matthew L. Tuccillo

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IT IS SO ORDERED. .
Signed: November 24; 2013

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UNITED STATES DISTRICT JUDGE

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